Case 8:18-cv-02608-SDM-AAS Document 99-1 Filed 05/10/19 Page 1 of 11 PageID 3190

 

From: Frankel, William
Wise ie Dixit: Justin L. D
Cc: Fernandez, Alex
Subject: Continuing Discussions Prior to May 10 Submission and May 23 Preliminary Pretrial Conference
Date: Tuesday, May 7, 2019 11:12:43 AM
Attachments: HPS v. Dixit - Stipulated Code Inspection Agreement.docx

cae ety

Se Dixit - Stipulated Protective f td

Importance: High

 

Shyamie and Justin,

We write further to last Friday’s preliminary pretrial conference and the Court’s order (Doc. 93) that
followed.

Please find attached current drafts of the following agreements:

1. Protective Agreement (modified since last week to delete Defendant’s definition of
“Litigation” in para. 2(b))

2. Stipulated Agreement Regarding Discovery of Electronically Stored Information (modified
since last week to recite, in para. 11, that each side shall limit their email production requests
to a sum total of fifteen custodians)

3. Stipulated Agreement Regarding Inspection of Computer Code (no changes)

As to all three agreements, we have changed the signature date to May 10, 2019.

As far as we are concerned, these documents all should be in their final form. However, we note the
Court’s suggestion that the parties attempt to agree on language that addresses defendants’
concerns about the use of experts. As it is unclear to us what you are seeking, we requested from
you on Friday, and you agreed to provide us with, specific language addressing your concern and
where, if at all, you believe such language fits in one or more of these three agreements. Please let
us have your proposed language and your approval of the attached documents at the earliest and in
any event by no later than COB Wednesday, as we must move the Court for approval of the final
versions by this Friday, May 10, 2019.

Lastly, and also pursuant to the Court’s Order, please advise as to your availability next week to
resume a meet and confer regarding narrowing the discovery disputes addressed in the motions to
compel.

Thank you.

Regards,

Bill
Case 8:18-cv-02608-SDM-AAS Document 99-1 Filed 05/10/19 Page 2 of 11 PagelD 3191

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From: Shyamie Dixit
To: Erankel, William
Cc: Justin L. Dees; Fernandez, Alex; Robert L. Vessel: Clarissa Moreno
Subject: [EXT] Re: Continuing Discussions Prior to May 10 Submission and May 23 Preliminary Pretrial Conference
Date: Wednesday, May 8, 2019 2:57:22 PM
Attachments: HPS v. Dixit - Stipulated ESI Agreement - Dixit Revised.docx
ATT00001.htm
ATT00002.htm
HPS v. Dixit - Stipulated Code Inspection Agreement - Dixit Revisions.docx
A1100003.htm
ATT00004.htm
Importance: High

 

Hi Bill,

My mediation today went as good as ours did, and I am done. Please see attached, and call me
to discuss the definition of “Litigation,” as I am open to other suggestions.

Also attached is Defendants’ List of (15) Email Custodians and Search Terms, which exceeds
10 and we are open to discuss further. Thank you,

Shyamie Dixit

3030 North Rocky Point Drive West, Suite 260, Tampa, Florida 33607

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From: Erankel, William

Wise ie Dixit: Justin L. D

Cc: Fernandez, Alex

Subject: Motion for Entry due Friday

Date: Thursday, May 9, 2019 12:26:12 PM

Attachments: Motion for Entry.doc

 

Dear Shyamie and Justin,

We have reviewed your proposed edits to the three agreements. We do not believe that they
are responsive either to the Court’s Order (Doc. 93) or to my letter of May 7.

HealthPlan rejects the proposed edits to paragraph 2 of the Protective Order Agreement, as
ignoring and circumventing the Court’s adoption of HealthPlan’s definition of “Litigation”.
Moreover, your proposed edits still fail to articulate your “expert” issue, which we still don’t
understand and which is what you represented to the Court was your real concern.

HealthPlan rejects the proposed edit of paragraph 12 of the ESI Agreement, as revisiting
language that was previously agreed to and jointly submitted to the Court and as an attempt
to circumvent the Court’s ruling constraining email discovery by limiting it to 15 custodians per
side in paragraph 11. As you now propose 20 search terms per custodian instead of the 10
you previously suggested and agreed to, the defendants could require that HealthPlan
conduct 300 discrete email searches, which is entirely disproportionate in terms of need,
burden, and cost.

As for the Computer Code Inspection Agreement, the definition of “affiliates” in paragraph
2(e) (which you previously agreed to) is intended to encompass the broadest definition of that
term for obvious reasons. We ask that you give us your approval to execute this document on

behalf of the defendants and file it for entry by the Court.

Pursuant to the Court’s Order, please find enclosed a draft Motion for Entry for filing
tomorrow. Please let us have your comments on this draft soon.

Lastly, please be sure to copy Alex on all correspondence concerning this matter as | will be
out of the office later this afternoon and all day tomorrow.

Thank you.

Regards,

Bill
Case 8:18-cv-02608-SDM-AAS Document 99-1 Filed 05/10/19 Page 5 of 11 PagelD 3194

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Stiyeonie Dialt
Frenkel, Willian

 

[EXT] Re: Motion for Entry due Friday
‘Thursday, May 9, 2019 12:45:34 PM

J aa

 

I do not agree and I am opposed to your motion, please remove my signature block, and I will file a separate motion,

Shyamie Dat

3030 North Rocky Point Drive West, Suite 260, Tampa, Florida 33607

Tet: (813) 252-3000 | Fanc (813) 252-3097 | Cell: (813) 992-8118

Dixit Law Firm: wan, dixitiaw. com

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On May 9, 2019, at 12-26 PM, Frankel, William <witankel @brinksgilson com> wrote:

Dear Shyamie and Justin,

We have reviewed your proposed edits to the three agreements. We do not believe that they are responsive either to the Court's Order (Doc. 93) or to my letter of May 7.
HealthPlan rejects the proposed edits to paragraph 2 of the Protective Order Agreement, as ignoring and circumventing the Court's adoption of HealthPlan’s definition of

“Litigation”. Moreover, your proposed edits still fail to articulate your “expert” issue, which we still don’t understand and which is what you represented to the Court was
your real concern.

 

HealthPlan rejects the proposed edit of paragraph 12 of the ESI Ag t, as revisiting | that was previously agreed to and jointly submitted to the Court and as an
attempt to circumvent the Court's ruling constraining email discovery by limiting it to 15 custodians per side in paragraph 11. As you now propose 20 search terms per
custodian instead of the 10 you previously suggested and agreed to, the defendants could require that HealthPlan conduct 300 discrete email searches, which is entirely
disproportionate in terms of need, burden, and cost.

As for the Computer Code Inspection Agreement, the definition of “affiliates” in paragraph 2(e) (which you previously agreed to) is intended to encompass the broadest
definition of that term for obvious reasons. We ask that you give us your approval to execute this document on behalf of the defendants and file it for entry by the Court.

Pursuant to the Court’s Order, please find enclosed a draft Motion for Entry for filing tomorrow. Please let us have your comments on this draft soon.
Lastly, please be sure to copy Alex on all correspondence concerning this matter as | will be out of the office later this afternoon and all day tomorrow.
Thank you.

Regards,

Bill

William H. Frankel

Intellectual Property Attorney

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www. brinksgilson.com

Administrative Assistant: Jacqueline M. Masters
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From: Frankel, William

To: Shyamie Dixit

Cc: Justin L. Dees; Fernandez, Alex; Robert L. Vessel; Clarissa Moreno; Valerie A. Cisco
Subject: RE: [EXT] Re: Motion for Entry due Friday

Date: Thursday, May 9, 2019 12:48:43 PM

Shyamie,

Understood and acknowledged.
The parties will submit separate motions.

Just one question — as to the Computer Code Agreement, concerning which there was no
disagreement before, will you consent to submission of that one agreement for entry by the
Court? Or are you now refusing to agree to that document as well?

Thanks.
Bill

From: Shyamie Dixit <sdixit@dixitlaw.com>

Sent: Thursday, May 9, 2019 11:44 AM

To: Frankel, William <wfrankel@brinksgilson.com>

Cc: Justin L. Dees <JDees@macfar.com>; Fernandez, Alex <afernandez@brinksgilson.com>; Robert L.
Vessel <rvessel@dixitlaw.com>; Clarissa Moreno <cmoreno@dixitlaw.com>; Valerie A. Cisco
<VAC@macfar.com>

Subject: [EXT] Re: Motion for Entry due Friday

I do not agree and I am opposed to your motion, please remove my signature block, and I will
file a separate motion,

Shyamie Dixit

3030 North Rocky Point Drive West, Suite 260, Tampa, Florida 33607
Tel: (813) 252-3999 | Fax: (813) 252-3997 | Cell: (813) 992-8118

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On May 9, 2019, at 12:26 PM, Frankel, William <wfrankel@brinksgilson.com>

wrote:
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Dear Shyamie and Justin,

We have reviewed your proposed edits to the three agreements. We do not
believe that they are responsive either to the Court’s Order (Doc. 93) or to my
letter of May 7.

HealthPlan rejects the proposed edits to paragraph 2 of the Protective Order
Agreement, as ignoring and circumventing the Court’s adoption of HealthPlan’s
definition of “Litigation”. Moreover, your proposed edits still fail to articulate
your “expert” issue, which we still don’t understand and which is what you
represented to the Court was your real concern.

HealthPlan rejects the proposed edit of paragraph 12 of the ESI Agreement, as
revisiting language that was previously agreed to and jointly submitted to the
Court and as an attempt to circumvent the Court’s ruling constraining email
discovery by limiting it to 15 custodians per side in paragraph 11. As you now
propose 20 search terms per custodian instead of the 10 you previously
suggested and agreed to, the defendants could require that HealthPlan conduct
300 discrete email searches, which is entirely disproportionate in terms of need,
burden, and cost.

As for the Computer Code Inspection Agreement, the definition of “affiliates” in
paragraph 2(e) (which you previously agreed to) is intended to encompass the
broadest definition of that term for obvious reasons. We ask that you give us
your approval to execute this document on behalf of the defendants and file it for

entry by the Court.

Pursuant to the Court’s Order, please find enclosed a draft Motion for Entry for
filing tomorrow. Please let us have your comments on this draft soon.

Lastly, please be sure to copy Alex on all correspondence concerning this matter
as | will be out of the office later this afternoon and all day tomorrow.

Thank you.

Regards,

Bill
Case 8:18-cv-02608-SDM-AAS Document 99-1 Filed 05/10/19 Page 9 of 11 PagelD 3198

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From: ‘Shyamie Dixit

To: Frankel, Wiliam

ca dustin L. Dees; Femander, Alec Robert L. Vessel; Clarissa Moreno; Valerie A. Cisco
‘Subject: Re: [EXT] Re: Motion for Entry due Friday

Date: ‘Thursday, May 9, 2019 1:01:31 PM

 

I will set forth my position in my motion, as you have not made any actual effort to discuss these issues with us nor understand Defendants’ issues regarding the two-front
litigation campaign that you and Bojokive have contrived; and, as I told you previously, I am not engaging in lengthy email campaigns that you and Alex can attach to your
motions.

Shyamie Dixit

3030 North Rocky Point Drive West, Suite 260, Tampa, Florida 33607

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On May 9, 2019, at 12:48 PM, Frankel, William <wirankel@brinksgilson.com> wrote:
Shyamie,

Understood and acknowledged.

The parties will submit separate motions.

Just one question — as to the Computer Code Agreement, concerning which there was no disagreement before, will you consent to submission of that one agreement for entry
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Bill

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Sent: Thursday, May 9, 2019 11:44 AM

To: Frankel, William <wtrankel@brinksgilson.com>

Ce: Justin L Dees </Dees(@macfar.com>; Fernandez, Alex <afernandez@brinksgilson.com>; Robert L. Vessel <rvessel@dixitlaw.com>; Clarissa Moreno <cmoreno@dixitlaw.com>;
Valerie A. Cisco <VAC@macfar.com>

Subject: [EXT] Re: Motion for Entry due Friday

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Shyamie Dixit

3030 North Rocky Point Drive West, Suite 260, Tampa, Florida 33607
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Lastly, please be sure to copy Alex on all correspondence concerning this matter as | will be out of the office later this afternoon and all day tomorrow.

Thank you.

Regards,

Bill
Case 8:18-cv-02608-SDM-AAS Document 99-1 Filed 05/10/19 Page 11 of 11 PagelD 3200

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